Exhibit "D"


                        IN THE STATE COURT OF BIBB COUNTY
                                 STATE OF GEORGIA

   WILLIE J. PARKER, JR.                     :
                                             :
          Plaintiff,                         :
                                             :
   v.                                        :        CIVIL ACTION FILE NO.
                                             :        20-SCCV-091313
   JONATHON HURTE,                           :
                                             :
          Defendant.                         :


        PROGRESSIVE MOUNTAIN INSURANCE COMPANY’S NOTICE OF
                     FILING NOTICE OF REMOVAL


          TO:     Willie J. Parker
                  c/o Reza Sedghi, Esq.
                  2870 Vineville Avenue
                  Macon, GA 31204
                  Attorney for Plaintiff:

          Pursuant to 28 U.S.C. § 1446(d), you are hereby notified that Defendant

   Progressive Mountain Insurance Company has caused to be filed on the 26th Day of May,

   2020, in the United States District Court for the Middle District of Georgia, Macon

   Division, a Notice of Removal with the Clerk of the said United States District Court for

   the Middle District of Georgia, Macon Division. A copy of the Notice of Removal is

   attached hereto as Exhibit ‘A’. WHEREFORE, Progressive Mountain Insurance

   Company has removed this action from the State Court for the County of Bibb, State of

   Georgia, where it is now pending, and to the United States District Court for the Middle

   District of Georgia, Macon Division to the exclusion of any further proceedings in the

   State Court of Bibb County.



                       SIGNATURES CONTINUE ON FOLLOWING PAGE



                                            Page 1
Exhibit "D"


         This 26th day of May, 2020.



                                                /s/ Wesley E. Childs
                                                Wesley E. Childs
                                                Georgia Bar No.:878909
                                                Attorney for Progressive

   OF COUNSEL:
   CHAMBLESS, HIGDON, RICHARDSON,
     KATZ & GRIGGS, LLP
   3920 Arkwright Road – Suite 405
   Post Office Box 18086
   Macon, GA 31209-8086
   478/745-1181
   wchilds@chrkglaw.com




                                       Page 2
Exhibit "D"


                               CERTIFICATE OF SERVICE

          This is to certify that the undersigned has this day served counsel of record for all

   parties in the foregoing matter with a copy of the above document by statutory electronic

   service via PeachCourt, which will generate an electronic service copy by electronic mail

   to the following counsel of record:

                                 Reza Sedghi, Esq.
                                 2870 Vineville Avenue
                                 Macon, GA 31204
                                 Attorney for Plaintiff


          This 26th day of May, 2020.


                                                 /s/ Wesley E. Childs
                                                 Wesley E. Childs




                                              Page 3
